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U.S. Department of Justice

United States Attorney
Southern District of New York

The Jacob K. Javits Federal Building
26 Federal Plaza, 37th Floor
New York, New York 10278

RP ae

July 26, 2024:
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The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
500 Pearl Street The oy
New York, New York 10007

Re: United States v. Samuel Bankman-Fried, 86 22. Cr, 673 (LAK)
Dear Judge Kaplan:

The Government writes to respectfully request two extensions of time in the. above-
captioned case. .

First, the Government writes to respectfully request that the Court extend the deadline for
its response to third-party ancillary petitions from the currently scheduled date of August 2, 2024
to August 16, 2024, to allow the Government additional time to respond to the filed petitions. The
Government has communicated with counsel for Emergent Fidelity Technologies Ltd. (who filed
their petition at Dkt. Nos. 446, 447), FTX Trading Ltd. (Dit. No. 450), and the MDL Plaintiff class
(Dkt. No. 454), all of whom consent to the extension of this deadline.

Second, on July 8, 2024, the Court ordered that the applicable deadline for third-party
petitions be extended to July 26, 2024. Dkt. No. 460. As to the following third parties, the
Government has been conferring with counsel regarding the forfeitability of funds these entities
received from the defendant and his co-conspirators:

e House Majority PAC

e Senate Majority PAC

e FF PAC

e FF USA Action

e Emily’s List/Women Vote (Women Vote!)
e GMIPAC

These discussions are continuing. Therefore, at the request of counsel for these entities, the
Government respectfully requests that the applicable deadline for these parties to file third-party
petitions be extended until September 13, 2024. The Government requests that the deadline for

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other third-parties remain today, July 26, 2024.

Respectfully,

DAMIAN WILLIAMS
United States Attorney

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_SO ORDERED

_ LEWIS A. KAPLAN, UgDS
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